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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION


The United States of America, et al. ,        )
                                              )
                vs.                           )      C.A. No. 9:14-230-RMG
                                              )      (Consolidated with 9:11-1593-RMG
Berkeley Heartlab, Inc. et al. ,              )       and 9: 15-2485-RMG)
                                              )
                        Defendants.           )      ORDER
                                              )


        Relaters Scarlett Lutz and Kayla Webster have moved for the voluntary dismissal without

prejudice of their claims arising under False Claims Acts of Colorado, Florida, Illinois, Indiana,

North Carolina, and Virginia. (Dkt. No. 929). No parties have opposed the motion and State

Attorneys General in the applicable states have all consented to the dismissal of these claims

without prejudice. (Id. at 2). For good cause shown, the motion is granted and these state

actions are dismissed without prejudice.

        AND IT IS SO ORDERED.




                                                             Richard Mark Gergel
                                                             United States District Judge


Octobe/1.--, 2018
Charleston, South Carolina
